             Case 8-08-76090-dte                Doc 12        Filed 02/05/09           Entered 02/24/09 12:37:45


Form BLdfnld7 (12/01/2007)

                                      United States Bankruptcy Court
                                             Eastern District of New York
                                           290 Federal Plaza, P.O. Box #9013
                                             Central Islip, NY 11722−9013

IN RE:                                                                                                 CASE NO: 8−08−76090−dte
   William A Diaz                                       Tracy Diaz
                                                          aka Tracy Severino
   38 Melville Road                                     38 Melville Road
   Huntington Station, NY 11746                         Huntington Station, NY 11746
   Name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address.
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                                CHAPTER: 7
   xxx−xx−5169                                                       xxx−xx−5851
                         DEBTOR(s)




                                            DISCHARGE OF DEBTOR(S)
                                            ORDER OF FINAL DECREE

A petition under title 11, United States Code was filed by or against the Debtor(s) on October 31, 2008; an order for
relief was entered under Chapter 7; no order denying a discharge has been granted.


It appearing that the debtor(s) is entitled to a discharge and the estate of the above named debtor(s) has been fully
administered.


IT IS ORDERED :



      • The debtor(s) is granted a discharge under Section 727 of Title 11, United States Code, (the Bankruptcy
        Code).

      • Kenneth Kirschenbaum (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
        the bond is cancelled.

      • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: February 3, 2009                                              s/ Dorothy Eisenberg
                                                                     United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

       This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged. For example,
a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
wages or other property, or to take any other action to collect a discharged debt from the debtor(s). A creditor who
violates this order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts;

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                CERTIFICATE OF NOTICE
 District/off: 0207-8                 User: sdolan                        Page 1 of 1                         Date Rcvd: Feb 03, 2009
 Case: 08-76090                       Form ID: 262                        Total Served: 19

 The following entities were served by first class mail on Feb 05, 2009.
 db           +William A Diaz,    38 Melville Road,    Huntington Station, NY 11746-7635
 jdb          +Tracy Diaz,   38 Melville Road,    Huntington Station, NY 11746-7635
 smg          +Diana Adams,    Office of the United States Trustee,    Long Island Federal Courthouse,
                560 Federal Plaza,    Central Islip, NY 11722-4456
 smg          +NYC Department of Finance,    345 Adams Street, 3rd Floor,    Attn: Legal Affairs - Devora Cohn,
                Brooklyn, NY 11201-3719
 smg          +NYS Department of Taxation & Finance,     Bankruptcy Unit,   PO Box 5300,    Albany, NY 12205-0300
 smg          +NYS Unemployment Insurance,    Attn: Isolvency Unit,    Bldg. #12, Room 256,
                Albany, NY 12240-0001
 5952268      +AUTO CONNECTION,    427 SUNRISE HIGHWAY,    BELLMORE, NY 11710-3663
 5952272      +CIT BANK/DFS,    ONE DELL WAY BLDG B,    ROUND ROCK, TX 78682-7000
 5952269     ++COLLECT AMERICA LTD,    4340 S MONACO PKWY,    2ND FL,   DENVER CO 80237-3408
              (address filed with court: CACH LLC,      370 17TH STREET STE 5000,    DENVER, CO 80202)
 5952274      +G C SERVICES,    6330 GULFSTON ST STE 400,    HOUSTON, TX 77081-1108
 5952278      +MANN & BRACKEN LLC,    2325 CLAYTON RD,    CONCORD, CA 94520-2104
 5952279      +PORTFOLIO RECOVERY & AFFIL,    120 CORPORATE BLVD STE 1,    NORFOLK, VA 23502-4962
 5952280      +US DEPT OF EDUCATION,    501 BLEECKER STREET,    UTICA, NY 13501-2401
 The following entities were served by electronic transmission on Feb 03, 2009.
 5952270      +EDI: CAPITALONE.COM Feb 03 2009 15:13:00       CAPITAL ONE,    15000 CAPITAL ONE DR,
                RICHMOND, VA 23238-1119
 5952271      +E-mail/Text: COAFINTERNALBKTEAM@CAPITALONEAUTO.COM
                CAPITAL ONE AUTO FINANCE,   3901 DALLAS PARKWAY,     PALNO, TX 75093-7864
 5952273       EDI: DISCOVER.COM Feb 03 2009 15:13:00       DISCOVER FINANCIAL,    PO BOX 15316,
                WILMINGTON, DE 19850
 5952275      +EDI: RMSC.COM Feb 03 2009 15:13:00      GEMB/WALMART,     PO BOX 981400,   EL PASO, TX 79998-1400
 5952276      +EDI: HFC.COM Feb 03 2009 15:13:00      HSBC,    PO BOX 5244,    CAROL STREAM, IL 60197-5244
 5952277      +EDI: CBSKOHLS.COM Feb 03 2009 15:13:00       KOHLS/CHASE,    N56 W 17000 RIDGEWOOD DR,
                MENOMONEE FALLS, WI 53051-5660
                                                                                                 TOTAL: 6
              ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.
 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Feb 05, 2009                                      Signature:
